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                       UNITED STATES DISTRICT COURT
                                             for the
                                   Western District of Kentucky
                                       Louisville Division

Alice Murphy and                              )
Susanna Davis                                 )
      Plaintiff                               )
                                              )
v.                                            )      Case No.      3:16-cv-00244-RGJ-DW
                                              )
Service Financial Company et al.              )
      Defendants                              )
                                              )

                                  NOTICE OF SETTLEMENT

       Please take notice that Plaintiffs, Alice Murphy and Susanna Davis, have reached a

settlement with Defendants Service Financial Company, assumed name for River City

Adjustment Bureau, Inc., and Deatrick & Spies, P.S.C. Once the settlement is final, the parties

will file a joint dismissal with prejudice.


                                       Respectfully submitted,

                                       /s/ James H. Lawson
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                                      Alice Murphy and Susanna Davis



                                CERTIFICATE OF SERVICE

        This is to certify that I filed the foregoing via the Court’s CM/ECF system on this 15th
day of June, 2018, which will send a Notice of Electronic Filing to all counsel of record.

                                      /s/ James H. Lawson
                                      Counsel for Plaintiffs
                                      Alice Murphy and Susanna Davis




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